Case 1:16-cr-00065-ELR-CMS Document 319-9 Filed 02/05/19 Page 1 of 4




                    EXHIBIT 9
1/31/2019         Case 1:16-cr-00065-ELR-CMS Document          319-9
                                             Patient Portal - health         Filed 02/05/19 Page 2 of 4
                                                                     > care summaries

  MDs • 1800 Howell Mill Road, NW, Atlanta GA 30318-0917
  MAURYA, ASHA (id #916243, dob: 07/05/1975)


                                                                   OrthoAtlanta, LLC
                                                         1800 Howell Mill Road, NW Suite 200
                                                                Atlanta, GA 30318-0917
                                                       Phone: (404) 352-1015, Fax: (678) 684-2210



        Date: 12/04/2017

        Dear Asha Maurya,

        The following is a summary of your visit today. If you have any questions, please contact our ofﬁce.

        Sincerely,

        RICHARD B. JOHNSTON III M.D.



    Patient Care Summary for Asha Maurya
    Most Recent Encounter
    12/04/2017 Richard Johnston, III: 1800 Howell Mill Road, NW, Suite 200, Atlanta, GA 30318­0917, Ph. tel:+1­404­3521015

    Reason for Visit
    None recorded.

    Assessment and Plan

    The following list includes any diagnoses that were discussed at your visit.
    1. Shoulder pain

    2. Strain of rotator cuff capsule
    • rotator cuff injury: care instructions
    • rotator cuff: exercises
    Discussion Note
    Cont symptoms R shoulder . Potentailly would benefit from surgery R shoulder . Symptoms now since June injury . . May work with
    some restritions . She has other injuries that are also being evaluated .


    Plan of Care
    Reminders                                                                                                  Provider
    Appointments                                           None recorded.

    Lab                                                    None recorded.

    Referral                                               None recorded.

    Procedures                                             None recorded.

    Surgeries                                              None recorded.

    Imaging                                                None recorded.

    Current Medications

    Your medical record indicates you are on the following medicine. If this list is not consistent with the medications you
    are currently taking, or if you are taking additional over-the-counter medicines, please inform your provider.
https://327-1.portal.athenahealth.com/?section=health&sub=care_summaries&navkey=My%20Health_Care%20Summaries                          1/3
1/31/2019         Case 1:16-cr-00065-ELR-CMS Document          319-9
                                             Patient Portal - health         Filed 02/05/19 Page 3 of 4
                                                                     > care summaries

  MDs • 1800 Howell Mill Road, NW, Atlanta GA 30318-0917
  MAURYA, ASHA (id #916243, dob: 07/05/1975)
    Name                                                                                           Prescribed Date         Start Date
    fluconazole 150 mg tablet

    meloxicam 15 mg tablet
                                                                                                   10/02/2017
    TAKE 1 TABLET BY MOUTH ONCE DAILY

    mupirocin 2 % topical ointment

    topiramate 25 mg tablet

    tramadol 50 mg tablet
                                                                                                   11/27/2017
    Take 1 tablet every day by oral route at bedtime.

    triamcinolone acetonide 0.1 % topical ointment

    Tylenol­Codeine #3 300 mg­30 mg tablet
                                                                                                   11/29/2017
    Take 1 tablet every day by oral route at bedtime.


    Medications Administered

    None recorded.

    Vitals
    Height                                      Weight                                      BMI
    5 ft 5 in                                    150 lbs                                     25 kg/m2

    Lab Results

    None recorded.

    Allergies

    Please review your allergy list for accuracy. Contact your provider if this list needs to be updated.
    Code                   Code System                       Name                         Reaction              Severity       Onset
    1492174                 RxNorm                           Pineapple

    9945                    RxNorm                           Sorbitol

                                                             Soy

    892484                  RxNorm                           Strawberry

                                                             Toradol                       Hives


    Problems
    No Known Problems

    Procedures
    Date         Name                                                   Performed by
                 Shoulder Surgery                                       Information not available
    Notes: rotator cuff repair

    Vaccine List

    Here is a copy of your most up-to-date vaccination list.

    None recorded.

    Smoking Status
    Smoking Status                                                              Never Smoker

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1/31/2019         Case 1:16-cr-00065-ELR-CMS Document          319-9
                                             Patient Portal - health         Filed 02/05/19 Page 4 of 4
                                                                     > care summaries

  MDs • 1800 Howell Mill Road, NW, Atlanta GA 30318-0917
  MAURYA, ASHA (id #916243, dob: 07/05/1975)
   Past Encounters

    12/04/2017
    Shoulder Pain; Strain of Rotator Cuff Capsule
    Richard Johnston, III, MD: 1800 Howell Mill Road, NW, Suite 200, Atlanta, GA 30318­0917, Ph. (404) 352­1015

    11/06/2017
    Shoulder Pain; Partial Thickness Rotator Cuff Tear; Subacromial Impingement
    Richard Johnston, III, MD: 1800 Howell Mill Road, NW, Suite 200, Atlanta, GA 30318­0917, Ph. (404) 352­1015

    Demographics
    Sex:                           Female                    Ethnicity:                     Information not available
    DOB:                           07/05/1975                Race:                          Information not available
    Preferred language:            English                   Marital status:                Information not available

    Contact:                       1500 Parkwood Cir Unit 6016, Atlanta, GA 30339, Ph. tel:+1­770­4858857

    Care Team Members
    Insurance Adjuster
    Stephanie Graham                            Ph. tel:+1­770­8702384




 Note: Patients are solely responsible for maintaining the privacy and security of all information printed from the Patient
 Portal.




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